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                       ,NITED srArES DISTRICT              couRr      .tEH8U.t:rPrr'p[YI8U*,
                       NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

UNITED STATES OF       AMERICA             )
                                           ) No.              16 CR 318
      v.)
                                            ) Violations:     Title18, United States
JONATHAN     SMALLEY                        )                 Code, Sections 922(aX1)
                                            )                 and e22(g)(1)

                                                             JUDGE GETTLEMA}8
                                   COUNT       ONE           MAGffiTfrATE ,UDOT EITBEtrT

             The SPECIAL FEBRUARY 2016 GRAND JURY charges:

      From on or about May 18, 2009, until on or about May 13, 2016, at Chicago, in

the Northern District of lllinois, Eastern Division, and elsewhere,

                              JONATHAN SMALLEY,

defendant herein, not being a licensed dealer within the meaning of Chapter 44,

Title 18, United States   Code, did   willfully   engage   in the business of dealing in
firearms,

      In violation of Title 18, United States Code, Section 922(aX1)(A).
                                   COUNT TWO

            The SPECIAL FEBRUARY 2016 GRAND JURY further charges:

      On or about May 13, 2016, at Oak Lawn, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                             JONATHAN SMALLEY,

defendant herein, having previously been convicted of a crime punishable by a term

of imprisonment exceeding one year, did knowingly transport in interstate commerce

and possess in and affecting interstate commerce a firearm, namely a Glock model

22 .40 caliber handgun beainS serial number WPH329, which firearm had traveled

in interstate commerce,

      In violation of Title 18, United States Code, Section 922(d$).
                          FORFEITURE ALLEGATION

             The SPECIAL FEBRUARY 2016 GRAND JURY further charges:

      1.     The allegations contained in this Indictment are realleged and
incorporated here for the purpose of alleging forfeiture pursuant to Title 18, United

States Code, Section 924(d)(1), and Title 28, United States Code, Section zaGL@).

      2.    As a result of his violation of Title 18, United States Code, Section

922(dQ), as alleged in the foregoing Indictment,

                              JONATHAN SMALLEY,

defendant herein, shall forfeit to the United States, pursuant to Title 18, United

States Code, Section, 924(dX1), and Tit1e 28, United States Code, Section 246L(c),

any and all right, title, and interest he may have in any property involved in the

charged offense.

      3.     The interest of the defendant subject to forfeiture pursuant to Title 18,

United States Code, Section 924(d)(1) and Title 28, United States Code, Section

246L(c), is a Glock model 22 .40 caliber handgun bearing serial number WPH329.

      All pursuant to Title 18, United States Code, Section 924(d)(1), and Title    28,

United States Code, Section 2461(c).

                                              A TRUE BILL:


                                              FOREPERSON


UNITED STATES ATTORNEY
